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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

  ELIZABETH SINES, ET AL.,                         │
                                                   │
                 Plaintiffs,                       │
                                                   │
         v.                                        │ Civil Action No. 3:17-cv-00072
                                                   │
  JASON KESSLER, ET AL.,                           │
                                                   │
                 Defendants.                       │
                                                   │

   DEFENDANTS’ HILL, TUBBS & LEAGUE OF THE SOUTH’S MOTION FOR A ONE
    WEEK EXTENSION TO FILE A REPLY TO PLAINTIFF’S RESPONSE TO THEIR
                   MOTION FOR SUMMARY JUDGMENT

         COME NOW Defendants Michael Hill, Michael Tubbs, and League of the South, by

  counsel, pursuant to this Court’s scheduling order and request a one-week extension to file a

  Reply to Plaintiff’s Response to their Motion for Summary Judgment. In support, Defendants

  submit as follows

         1. Plaintiff’s Response was filed with this court on Friday, September 4, 2020.

         2. The Response included over 100 exhibits.

         3. Defendants were unable to access most of the exhibits until today because of

              technical issues.

         4. Reviewing the exhibits is necessary in order to file a Reply.

         5. Currently a Reply is due by September 11, 2020.

         6. Counsel for Plaintiffs does not oppose this motion.

         For those reasons, Counsel for Defendants Hill, Tubbs, and the League of the South

  requests a one-week extension to file a Reply to Plaintiff’s Response to their Motion for

  Summary Judgment.
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                                                      Respectfully submitted,

                                                      /s/ Bryan J. Jones____
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                                                      Counsel for Defendants for Michael Hill,
                                                      Michael Tubbs, and League of the South




                                  CERTIFICATE OF SERVICE

         I certify that on the 10th day of September, 2020, a true and correct copy of the foregoing

  Motion for Summary Judgment was electronically filed with the Clerk of the Court using the

  CM/ECF system, which will provide electronic notice to all counsel of record.



                                                      /s/ Bryan J. Jones____
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         I further hereby certify that on September 10, 2020, I also served the following non-ECF
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  participants, via electronic mail, as follows:

  Christopher Cantwell
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                                                   /s/ Bryan J. Jones____
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